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8 { 5 @ JUDICIAL PANEL ON
MOL MULTIDISTRICT LITIGATION

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BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
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mM 11 ||IN RE: ASBESTOS PRODUCTS MDL DOCKET NO. 875
oo. %2- LIABILITY LITIGATION
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$2%6 13 || WILLIAM H. DAWSON and RITA M. ) CONTROLS, INC.’S
eects DAWSON V. CBS CORPORATION, et ) OPPOSITION TO PLAINTIFFS?
St e22 14 |lal. CONSOLIDATED MOTION TO
Sie VACATE CONDITIONAL
SS: £3‘. 15 ||JOHNNIE D, PELFREY, JR, et al. v. TRANSFER ORDER (CTO-320)
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= 17 || MICHAEL E. JENKINS, v. ALLIED
PACKING & SUPPLY, INC. et al.
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DEFENDANT LESLIE CONTROLS, INC.’S OPPOSITION TO PLAINTIFFS’ MOTION TO VACATE CONDITIONAL

| TRANSFER ORDER (CTO-320) IMAGED MAY 8 2009

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

WILLIAM H. DAWSON and RITA M.

DAWSON,
Plaintiffs,
v.
CBS CORPORATION, et al.,

Defendants.

USDC NO. CV09-00903-EDL

DEFENDANT LESLIE
CONTROLS, INC.’S
OPPOSITION TO PLAINTIFFS’
MOTION TO VACATE
CONDITIONAL TRANSFER
ORDER (CTO-320)

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

JOHNNIE D. PELFREY, JR. and JAN

D. PELFREY,
Plaintiffs,

V.

ALLIED PACKING & SUPPLY, INC.;

et al.,

Defendants.

USDC CASE NO. 09-00902 MHP

DEFENDANT LESLIE
CONTROLS, INC.’S
OPPOSITION TO PLAINTIFFS’
MOTION TO VACATE
CONDITIONAL TRANSFER
ORDER (CTO-320)

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

MICHAEL E. JENKINS,
Plaintiff,
V.
FOSTER WHEELER, LLC.; et al.,

Defendants.

USDC CASE NO. 09-cv-0101-DMS
(LSP)

DEFENDANT LESLIE
CONTROLS, INC.’S
OPPOSITION TO PLAINTIFFS’
MOTION TO VACATE
CONDITIONAL TRANSFER
ORDER (CTO-320)

DEFENDANT LESLIE CONTROLS, INC.’S OPPOSITION TO PLAINTIFFS’ MOTION TO VACATE CONDITIONAL
TRANSFER ORDER (CTO-320)

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I. INTRODUCTION

There is no reason for this Panel to vacate its transfer order. These actions

are just like many other cases transferred to the MDL proceeding “for the
convenience of the parties and witnesses and [to] promote the just and efficient
conduct of such actions.” 28 U.S.C. § 1407(a) (2009). Plaintiffs give no reason
why their cases should receive different or preferential treatment. They fail even
to address Section 1407, the statute governing transfer. Instead, they make
arguments about remand, already rejected by one court and improperly addressed
to this Panel. Plaintiffs also argue that they are gravely ill, but that is true of
plaintiffs in countless other cases in this asbestos MDL, and is a matter to be taken
up with the transferee court, not this Panel. This Panel should let its transfer order

stand.

Hl. FACTS

A. Michael E. Jenkins v. Allied Packing & Supply, Inc., et al
Plaintiff filed his personal injury complaint alleging asbestos-related injuries

on July 21, 2008 in the San Diego Superior Court. Former defendant Viad
Corporation (“Viad”) filed a notice of removal on September 9, 2008, three months
before Leslie was served with the summons and complaint in this case. Plaintiff
ultimately reached an agreement with defendant Viad, stipulating to a dismissal in
exchange for remand to state court. After Leslie received the summons and
complaint, it filed a notice of removal to the United States District Court for the
Southern District of California on January 9, 2009. (Leslie’s Notice of Removal,
Declaration of Kristine M. Glover (“Glover Decl.”), Exhibit A.) Leslie argued that
such removal was proper under 28 U.S.C. § 1442(a)(1) because (1) any products
Leslie sold to the U.S. Navy were manufactured in strict compliance with detailed
government specifications, including markings and labeling specifications; and (2)
the Navy had superior knowledge about potential health hazards, including

asbestos-related hazards. Plaintiff filed a motion to remand on February 19, 2009.
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DEFENDANT LESLIE CONTROLS, INC.’S OPPOSITION TO PLAINTIFFS’ MOTION TO VACATE CONDITIONAL
TRANSFER ORDER (CTO-320)

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On March 25, 2009, the Southern District of California issued its order
denying Plaintiff's motion for remand to state court, ruling that Leslie met its
burden of establishing that removal was proper under 28 U.S.C. § 1442(a)(1).
(Order, Glover Decl., Exhibit B.) Further, the district court ruled that Plaintiffs
purported disclaimers of any claims arising under federal law in its complaint have
no effect on the propriety of removal.

B. William H. Dawson, et al v. CBS Corp., et al

Plaintiffs filed their personal injury complaint alleging asbestos-related
injuries on January 22, 2009 in the Alameda County Superior Court. Defendant
General Electric (“GE”) removed this action to the United States District Court for
the Northern District of California on March 3, 2009. Leslie joined GE’s Notice of
Removal on March 4, 2009. (Leslie’s Joinder to GE’s Notice of Removal, Glover
Decl., Exhibit C.) Pursuant to the district court’s April 28, 2009 Order, all
proceedings in this action are stayed pending a decision to transfer by this Panel.
(Order, Glover Decl., Exhibit D.)

C. Johnie D. Pelfrey, Jr., et al v. Foster Wheeler, LLC, et al

Plaintiffs filed their personal injury complaint alleging asbestos-related
injuries on January 16, 2009 in the Alameda County Superior Court. Before Leslie
filed its own removal of this action, Plaintiffs dismissed Leslie on February 27,
2009. (Plaintiffs’ Request for Dismissal of Leslie, Glover Decl., Exhibit E.) GE
removed this action to the United States District Court for the Northern District of
California on March 2, 2009. Pursuant to the district court’s April 10, 2009 order,
all proceedings in this action are stayed pending a decision to transfer by this
Panel. (Order, Glover Decl., Exhibit F.)

D. Conditional Transfer Order (CTO-320)

On March 25, 2009, this Panel filed its Conditional Transfer Order (CTO-
320) identifying the Jenkins, Dawson and Pelfrey actions as tag-along actions

pursuant to Rule 7.4 of the Rules of Procedure of the Judicial Panel on
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DEFENDANT LESLIE CONTROLS, INC.’S OPPOSITION TO PLAINTIFFS’ MOTION TO VACATE CONDITIONAL
TRANSFER ORDER (CTO-320)

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Multidistrict Litigation. Under the Conditional Transfer Order, these actions will
be transferred to the Eastern District Of Pennsylvania (MDL No. 875) before the
Honorable Eduardo C. Robreno for coordinated or consolidated pretrial
proceedings pursuant to 28 U.S.C. § 1407. In response, Plaintiffs filed a Notice of
Opposition on April 3, 2009, followed by Plaintiffs’ Consolidated Motion to
Vacate Conditional Transfer Order (CTO-320) filed on April 20, 2009.

Il. ARGUMENT

Plaintiffs’ motion focuses on co-defendant GE exclusively. However,

Plaintiffs failed to mention that Leslie removed the Jenkins action, in which GE
joined. The instant issues apply equally to all defendants, and in particular, Leslie,

as a joining and removing co-defendant.

A. There Is No Reason For This Panel To Vacate Its Conditional
Transfer Order Because These Tag-Along Actions Are No
Different Than Other Federal Asbestos Actions In MDL No. 875
And Transferring Is Proper Under 28 U.S.C. § 1407.

1. Transfer Of The Subject Actions Serves Convenience Of

The Parties And Witnesses And Promotes Just And
Efficient Adjudication Of The Claims.

Transfers under 28 U.S.C. § 1407 “shall be made by [this Panel] upon its
determination that transfers for such proceedings will be for the convenience of the
parties and witnesses and will promote the just and efficient conduct of such
actions.” Pursuant to that mandate, this Panel long ago ruled that transferring all
asbestos-related personal injury and wrongful death claims in federal court
promoted the policy and goals of Section 1407. Other than stating that all three
Plaintiffs are gravely ill, Plaintiffs provide no reason why their respective cases are
so unique and distinguishable from the other asbestos actions before the Panel.
Advanced disease is true of countless other plaintiffs in asbestos actions before
MDL No. 875. In fact, this only further illustrates common facts between these

tag-along actions and the other MDL asbestos actions. Preferential treatment of

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DEFENDANT LESLIE CONTROLS, INC.’S OPPOSITION TO PLAINTIFFS’ MOTION TO VACATE CONDITIONAL
TRANSFER ORDER (CTO-320)

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Plaintiffs’ cases due to their ailing heath is an appropriate request for the transferee
court to address, rather than a basis to vacate CTO-320.

Likewise, Plaintiffs provide no reason why these tag-along actions are not
subject to the Panel’s other key reasons for transferring federal asbestos actions to
the MDL. This Panel has ruled that transfer advances convenience of the parties
and witnesses in preventing needless and duplicative discovery, and other pretrial
rulings and events. Jn re Asbestos Prods. Liab. Litig (No. VI.), 771 F. Supp. 415
(J.P.M.L. 1991) (“economies to be achieved...should be secured before claims
against distinct types or groups of defendants are separated out of the litigation.”).
This Panel also decided that such transfers would avoid duplication of efforts (and
unnecessary expenses) by the parties and witnesses, counsel and the judiciary, and
prevent inconsistent decisions. In re Asbestos Prods. Liab. Litig (No. VI), 771 F.
Supp. 415, 421-22 (J.P.M.L. 1991). The same efficiencies apply here.

Further, there is little burden on the parties in coordinating pretrial
proceedings in these cases. Though transfer is primarily for pretrial purposes only,
this Panel noted in its original decision regarding MDL No. 875 that there is
usually little need for counsel to travel to the transferee district. In re Asbestos
Prods. Liab. Litig (No. VI.), 771 F. Supp. at 422.

The Jenkins, Dawson and Pelfrey actions are asbestos-related personal
injury claims with common issues of fact to those before MDL No. 875 currently,
and this Panel has many times ordered the transfer of similar tag-along actions.
See, e.g., In re Asbestos Prods. Liab. Litig (No. VI.), 560 F. Supp.2d 1367
(J.P.M.L. 2008); In re Asbestos Prods. Liab. Litig (No. VI.), 545 F. Supp.2d 1359
(J.P.M.L. 2008). There is no reason why this Panel should depart from its
established line of decisions ordering transfer of similar asbestos-related personal

injury claims.

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DEFENDANT LESLIE CONTROLS, INC.’S OPPOSITION TO PLAINTIFFS’ MOTION TO VACATE CONDITIONAL
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2. Plaintiffs’ Argument That The Order Should Be Vacated
Because Their Diseases Are Advanced Does Not Justify
Vacating CTO-320.

Plaintiffs argue that vacating this Panel’s Conditional Transfer Order is
required because Plaintiffs may die before complete adjudication of their claims in
the transferee court. Citing no cases regarding the standards for such transfer, they
assume the transferee court lacks the ability to resolve Plaintiffs’ claims
expeditiously. This does not justify vacating CTO-320. The transferee court has
broad discretion to accommodate case-specific exigencies, such as an advanced
disease, by prioritizing and otherwise organizing pretrial proceedings accordingly.
In re Joann Patenaude, 210 F.3d 135, 139-40 (rd Cir. 2000); see also In re
Asbestos Prods. Liab. Litig. (No. VI), 1996 WL 539589 (E.D. Pa. Sept. 16, 1996)
(“The Court has prioritized malignancies and other serious disease cases”). Should
the need present itself, Plaintiffs can request this relief from the transferee court in

these cases.

B. Federal Subject Matter Jurisdiction Was Established In The
Jenkins Action.

Plaintiffs’ argument that this Panel, as well as the transferor and transferee
courts, lack jurisdiction over defendants is immaterial to the current issue before
the Panel, which is whether transfer is appropriate under 28 U.S.C. § 1407 and this
Panel’s prior decisions. It is also misguided for two other reasons.

First, Plaintiffs wrongly assert that jurisdiction was not established as to
Leslie in the Jenkins action. (Pls.’ Mot. at 5:3-6.) To the contrary, on March 25,
2009, the United States District Court for the Southern District of California denied
Plaintiff's motion for remand to state court, ruling that Leslie met its burden of
establishing that removal was proper under 28 U.S.C. § 1442(a)(1). (Glover Decl.,
Exhibit B.) Plaintiffs also argue that disclaimers in their complaints prevent
federal subject matter jurisdiction, and that they have sought leave to amend their

complaints in order to otherwise defeat any basis for the same. However, this
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DEFENDANT LESLIE CONTROLS, INC.’S OPPOSITION TO PLAINTIFFS’ MOTION TO VACATE CONDITIONAL
TRANSFER ORDER (CTO-320)

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argument was explicitly rejected already in Jenkins. The district court ruled that
Plaintiff's purported disclaimers of any claims arising under federal law in its
complaint have no effect on the propriety of removal. (Glover Decl., Exhibit B,
3:22-4:18.) Therefore, federal subject matter jurisdiction as to Leslie in the
Jenkins action was established.

Second, even if there are outstanding jurisdictional issues in the Dawson and
Pelfrey actions, such issues are insufficient reason to prohibit transfer.
Outstanding jurisdictional questions do not defeat transfer by this Panel. See In re
Asbestos Prods. Liab. Litig (No. VI), 170 F. Supp.2d 1348 (J PML. 2001); accord
In re Gypsum Wallboard, 302 F.Supp 794 (J.P.M.L 1969); In re Ivy, 901 F.2d 7, 9
(2nd Cir. 1990) (“The MDL Panel has jurisdiction to transfer a case in which a
jurisdictional objection is pending.”). The transferee court can just as easily hear
Plaintiffs’ motions to remand, and order remand if and when appropriate.
Plaintiffs argue that transfer will prohibit the “most immediate opportunity” to
remand. (Pls.’ Mot. at 4:24-26.) The Dawson and Pelfrey actions were stayed
pending a transfer decision by this Panel, and therefore, Plaintiffs’ argument is
moot.

C. Plaintiffs Request Improper Substantive Relief From This Panel.

Plaintiffs effectively seek an alternate forum to take a “second bite” at
litigating the issue of remand in the Jenkins action. The relevant issue is whether
transfer is proper under Section 1407. Instead, the heart of Plaintiffs’ arguments is
that defendants cannot meet their burden to prevent remand, and that Plaintiffs
disclaimers contained in their respective complaints defeat federal subject matter
jurisdiction. However, this issue has already been ruled upon and denied in
Jenkins. As to Dawson and Pelfrey, Plaintiffs’ request to the Panel is misdirected
because this Panel does not have authority to rule on remand.

In Jenkins, the district court denied Plaintiffs’ motion to remand, and further

ruled that Plaintiff's purported disclaimers of claims arising under federal law in its
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DEFENDANT LESLIE CONTROLS, INC.’S OPPOSITION TO PLAINTIFFS’ MOTION TO VACATE CONDITIONAL
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complaint have no effect on the propriety of removal. “Section 1407 does not
authorize the Panel to act an appellate forum for every litigant disgruntled by the
rulings of a transferee judge.” In re Plumbing Fixtures, 332 F. Supp. 1047
(J.P.M.L. 1971); accord, In re Glenn W. Turner Enterprises Litig., 368 F. Supp.
805, 806 (J.P.M.L. 1973) (“The Panel is not vested with authority to review
decisions of district courts, whether they are transferor or transferee courts”).
Therefore, not only do Plaintiffs attempt to litigate an improper issue before this
Panel, they effectively seek appellate relief, which neither this Panel nor the
transferee court may entertain at this point in time.

To the extent Plaintiffs seek an initial ruling on the issue of remand in
Dawson and Pelfrey, such request is likewise misdirected to the Panel, and is an
improper reason to vacate a conditional transfer order. Section 1407 does not
empower the MDL Panel to decide questions going to the jurisdiction or the merits
of a case, including issues relating to a motion to remand.” Jn re Ivy, 901 F.2d 7, 9
(2nd Cir. 1990). Rather, Plaintiffs may properly seek to remand of those actions
post-transfer, where the transferee court may decide whether remand is
substantively warranted.

IV. CONCLUSION

This Panel should transfer the subject actions under its Conditional! Transfer

Order (CTO-320) and there is no reason why it should depart from its initial order.
Transfer is appropriate because these cases are similar to those before MDL No.
875, and moreover, Plaintiffs failed to demonstrate any viable reason why they are
dissimilar or otherwise should receive preferential treatment. Further, Plaintiffs
jurisdictional arguments are irrelevant to the issues before this Panel. If there is a
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DEFENDANT LESLIE CONTROLS, INC.’S OPPOSITION TO PLAINTIFFS’ MOTION TO VACATE CONDITIONAL
TRANSFER ORDER (CTO-320)

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time and place to take up those arguments, it is before the transferee court post-

transfer.

Respectfully submitted,

Dated: May 7, 2009 GORDON & REES LLP

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Attorneys for Defendants
LESLIE CONTROLS, INC.

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DEFENDANT LESLIE CONTROLS, INC.’S OPPOSITION TO PLAINTIFFS’ MOTION TO VACATE CONDITIONAL
TRANSFER ORDER (CTO-320)

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BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

IN RE: ASBESTOS PRODUCTS
LIABILITY LITIGATION

MDL DOCKET NO. 875

DECLARATION OF KRISTINE
WILLIAM H. DAWSON and RITA M. M. GLOVER IN SUPPORT OF
DAWSON V. CBS CORPORATION, et ) LESLIE CONTROLS, INC.’S
al. OPPOSITION TO PLAINTIFFS’
CONSOLIDATED MOTION TO
JOHNNIE D. PELFREY, JR, et al. v.

VACATE CONDITIONAL
FOSTER WHEELER, LLC. et al. TRANSFER ORDER (CTO-320)
MICHAEL E. JENKINS, v. ALLIED

PACKING & SUPPLY, INC. et al.

I, Kristine M. Glover, hereby declare:

l. I am an attorney duly licensed to practice before the courts of the
State of California. I am also admitted to practice in the USDC, Central District of
California.

2. I am an associate with Gordon & Rees LLP, attorneys of record for
defendant LESLIE CONTROLS, INC. (“Leslie”), and one of the attorneys chiefly
responsible for this representation. In that capacity, I have personal knowledge

regarding all matters contained in this declaration.

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DECLARATION IN SUPPORT OF LESLIE’S OPPOSITION TO PLAINTIFFS’ CONSOLIDATED
MOTION TO VACATE CONDITIONAL TRANSFER ORDER (CTO-320)

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LECO/1055409/6633545v.1

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3. A true and correct copy of Leslie Controls, Inc.’s Notice of Removal
to Adverse Party in the matter of Michael E. Jenkins v. Allied Packing & Supply,
Inc. is attached hereto as Exhibit A.

4. _ A true and correct copy of Judge Dana M. Sabraw’s Order Denying
Plaintiff's Motion to Remand in the matter of Michael E. Jenkins v. Allied Packing
& Supply, Inc. is attached hereto as Exhibit B.

5. A true and correct copy of Leslie Controls, Inc.’s Joinder in General
Electric Company’s Notice of Removal in the matter of William H. Dawson, et al
v. CBS Corp. is attached hereto as Exhibit C.

6. A true and correct copy of Judge William Alsup’s Order Granting
Defendant General Electric Company’s Motion to Stay All Proceedings Pending A
Decision On Transfer By The Judicial Panel On Multidistrict Litigation in the
matter of William H. Dawson, et al v. CBS Corp. is attached hereto as Exhibit D.

7. A true and correct copy of Plaintiffs’ Request for Dismissal of Leslie
Controls, Inc. in the matter of Johnie D. Pelfrey, et al v. Foster Wheeler, LLC, et
al. is attached hereto as Exhibit E.

8. A true and correct copy of Judge Marilyn H. Patel’s Order Granting
Defendant General Electric Company’s Motion to Stay All Proceedings Pending A
Decision On Transfer By The Judicial Panel On Multidistrict Litigation in the
matter of Johnie D. Pelfrey, et al v. Foster Wheeler, LLC, et al is attached hereto as
Exhibit F.

I declare under penalty of perjury the foregoing is true and correct.

Dated: May 7, 2009 | & REES LLP

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INE M. GLOVER
Attorneys for Defendants
LESLIE CONTROLS, INC.

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DECLARATION IN SUPPORT OF LESLIE’S OPPOSITION TO PLAINTIFFS’ CONSOLIDATED
MOTION TO VACATE CONDITIONAL TRANSFER ORDER (CTO-320)

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Case MDL No. ® Document 5837 Filed 05/08/08 aossbts: RIGT MOO MON

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I am a resident of the State of California, over the age of eighteen yedrS G8Midt @party
to the within action. My business address is: Gordon & Rees LLP 275 Battery Street, Suite
2000, San Francisco, CA 94111. On May 7, 2009, I served the within document(s):

PROOF OF SERVICE

DEFENDANT LESLIE CONTROLS, INC.’S OPPOSITION TO PLAINTIFFS?
CONSOLIDATED MOTION TO VACATE CONDITIONAL TRANSFER ORDER (CTO-
320)

1 by transmitting via facsimile the document(s) listed above to the fax number(s) set
forth below on this date.

O _—scby personally delivering the document(s) listed above to the person(s) at the
address(es) set forth below.

by placing the document(s) listed above in a sealed envelope with postage thereon
fully prepaid, in United States mail in the State of California at San Francisco,
addressed as set forth below.

See attached List of Counsel

I declare under penalty of perjury under the laws of the State of California that the above
is true and correct. Executed on May 7, 2009 at San Francisco, California.

Sanath Cryo

Samantha Orysll

Virginia Alfonso v. Permobil AB, et al.
Contra Costa County Superior Case No. MSC06-00835

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In Re: Asbestos Products Liability Litigation (No. VI)

MDL No. 875

Southern District - Michael E. Jenkins v. Allied Packing & Supply, et al.

C.A. No. 3:09-101 (Judge Dana M. Sabraw)

Northern District — William H. Dawson, et al. v. CBS Corp., et al.

C.A. No. 3:09-903 (Judge Elizabeth D. Laporte)

Northern District — Johnnie D. Pelfrey, Jr. et al. v. Allied Packing & Supply, et al.

C.A. 3:09-00902

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Case MDL °~@ Document 5837 Filed 05/08/09, Page 17 of 53

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Exhibit “A”

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Attorneys for Defendant
LESLIE CONTROLS, INC.

UNITED STATES DISTRICT COURT ‘
SOUTHERN DISTRICT OF CALIFORNIA

09 101 0M
U.S.D.C. CASE NO.

Plaintiff, = = Case No. 37-2008-00088099-CU-AS: |
CTL (San Diego County Superior
v. Court)

ALLIED PACKING & SUPPLY, INC., mFENDANT LESLIE

A.W, CHESTERTON COMPANY; CONTROLS. INC'S NOTICE OF
ALFA LAVAL, INC., individually and REMOVAL TO ADVERSE

as parent, alter ego and successor in PARTY

interest to SHARPLES, INC., ALFA-
LAVAL SEPARATION, INC., and
DELAVAL SEPARATOR COMPANY;
ALLIS CHALMERS PRODUCT
LIABILITY TRUST; AMCHEM
PRODUCTS, INC., individually and as
successor in interest to BENJAMIN
FOSTER; AMERICAN BILTRITE,
INC.; AMERICAN STANDARD, INC.;
AMETEK, INC., individually and as
parent, alter ego and successor in interest
to BAVEG; ASBESTOS
CORPORATION, LTD.; ATLAS
VALVE COMPANY, INC.; BONDER
INTERNATIONAL; BUFFALO
PUMPS, INC., individually and as
parent, alter ego, successor in interest
and/or subsidiary of AMPCO __
PITTSBURGH CORPORATION and/or
BUFFALO FORGE COMPANY;
CAMPBELL SHIPYARD; CBS
CORPORATION individually and as
parent, alter ago, and/or successor in
interest to WESTINGHOUSE

MICHAEL E. JENKINS,

I

LESLIE CONTROLS, INC'S NOTICE OF REMOVAL TO ADVERSE PARTY

Case MDL No. © Document 5837 Filed eo 21 of 53

1 | ELECTRIC CORPORATION, B.F.
STURTEVANT CO., and WESCO
CORPORATION; CERTAINTEBD
CORPORATION; CLEAVER
BROOKS, INC.; COLTEC.
INDUSTRIES, INC., individually and as
parent, alter ego and successor in interest
to COLT MANUFACTURING —__

5 | COMPANY; COOPER INDUSTRIES,
INC.,, individually and as parent, alter

6 |}ego and successor in Interest to

-OOPER BESSEMER; CRANE

7 || COMPANY, individually and as parent,
alter ego and successor in interest to

8 | CHAPMAN VALVE COMPANY,
COCHRANE CORPORATION, and/or
9 | CHEMPUMP; CROWN CORK & SEAL
(USA), individually and _as successor in
10 | interest to MUNDET CORK
CORPORATION; DIAL

11 | CORPORATION, individually and as
parent, alter ego and successor in interest

bo

f&

~8_ 12 ||to GRISCOM RUSSELL SCHACK
ag’: COMPANY, INC.; DUR.
4,22 13 || CORPORATION, individually and as
geo 5 parent, alter ego and successor in interest
202 14 |to DUR,EZ PLASTICS & CHEMICAL;
SEaE ELLIOTT TURBOMACHINERY
§ 3&8 15 | COMPANY,INC.; ENPRO __
325° ENGINEERED PRODUCTS, INC.,
&«a 16 || individually and as a parent, alter ego

and successor in interest to FAIRBANKS
17 || MORSE ENGINE; ENPRO- |
INDUSTRIES, individually and as

18 || parent, alter ego and successor in interest
to FAIRBANKS MORSE ENGINE;

19 || FAIRBANKS MORSE PUMP
CORPORATION, individually and as

20 |) parent, alter ego and successor in interest
to FAIRBANKS MORSE ENGINE;

21 || FIATALLIS NORTH AMERICA, INC.,,
individually and as parent, alter ego and
22 || successor in interest to ALLIS-_
CHALMERS CORPORATION;

23 || FLOWSERVE MANAGEMENT
COMPANY, individually and as parent,
24 || alter ego and successor in interest to
HENRY VOGT MACHINE

25 || COMPANY, BABCOCK POWER.
INC., COMPANY and/OR PACIFIC

26 || PUMPS, INC,; FLOWSERVE US INC.,
individually and as parent, alter ego and
27 || successor in interest to BYRON
JACKSON and SIER BATH GEAR &
28 | PUMP COMPANY; FLUOR.
CORPORATION; FMC

2
LESLIE CONTROLS, INC.’S NOTICE OF REMOVAL TO ADVERSE PARTY

Case MDL No. 6 Document 5837 Filed "oO 22 of 53

1 | CORPORATION, individually and as
parent, alter ego and successor in interest
2 || to ALLIS CHALMERS and/or
NORTHERN PUMP COMPANY; _
3 | FOSTER WHEELER LLC, individually
and as parent, alter ego and successor by
4 || merger and/or in interest to FOSTER
WHEELER BOILER CORPORATION
5 | FOSTER WHEELER CORPORATION,
FOSTER. WHEELER ENERGY
6 || CORPORATION and/or FOSTER
WHEELER USA CORPORATION;
7 || FRASER BOILER SERVICE, INC.;
OARLOCK SEALING
8 | TECHNOLOGIES LLC, individually
and as parent, alter ego and/or successor
9 j/in interest to OARLOCK, INC., and/or
FAIRBANKS MORSE ENGINES, and
10 || as successor in interest to COLTEC
INDUSTRIES; GENERAL DYNAMICS
11 |} CORPORATION, Individually and as
Successor-in-Interest to ASBESTOS

+ 12 || CORPORATION, LTD.; GENERAL
agcs ELECTRIC COMPANY; GEORGIA-
4%2% 13 |PACIFIC CORPORATION; __
gels GOODYEAR TIRE & RUBBER |
eY2¢ 14 || COMPANY; GOULDS PUMPS (ipb),
Sg25 INC.; GRAYBAR ELECTRIC, INC;
$88 15 || HANSON PERMANENTE CEMENT,
62 Ba INC,, formerly known as KAISER

Beda 16 || CEMENT CORPORATION; HILL

a BROTHERS CHEMICAL

17 |, CORPORATION; HOPEMAN

BROTHERS, INC.; IMO INDUSTRIES

18 | INC., parent, alter ego, successor in

interest and/or formerly known as IMO

19 || DELAVAL INC.; IMO INDUSTRIES,

INC, parent, alter ego, successor in

20 || interest and/or formerly known as

WORTHINGTON T INE, INC.,

21 | IMO DELAVAL INC., DELAVAL

TURBINES, DELAVAL PUMPS,

22 || TRANSAMERICA DELAVAL, IMO

DELAVAL, ENTERPRISE ENGINE &

23 | FOUNDRY COMPANY, and/or

WORTHINGTON TURBINE, INC.;

24 || INGERSOLL-RAND COMPANY,
individually and as parent, alter ¢g0 and

25 |} successor in interest to DRESSER-

RAND, TERRY TURBINES,

26 || WORTHINGTON PUMP INC., formerly

known as WORTHINGTON PUMP

27 || AND MACHINERY CORPORATION,

and/or formerly doing business as

28 || WORTHINGTON PUMP INC., formerly

known as WORTHINGTON PUMP

3
LESLIE CONTROLS, INC."S NOTICE OF REMOVAL TO ADVERSE PARTY

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1 | AND MACHINERY CORPORATION;

INTERNATIONAL PAPER,

2 || individually and as parent, alter ego and

successor in interest to CHAMPION

3 || PAPER CORPORATION AND USS.

PLYWOOD, INC.; ITT INDUSTRIES,

4 | INC., individually and as patent, alter

ego and successor ininterestto

5 | GOULDS PUMPS, INC.; J.T. THORPE

& SON, INC.; KAISER GYPSUM CO.,

6 | INC; KENTILE CORPORATION;

KENTILE FLOORS, INC.; LESLIE

7 || CONTROLS, INC.; MASTER PUMPS

& EQUIPMENT CORPORATION;

8 || MCNALLY INDUSTRIES, INC.,

individually and as parent, alter ego and

9 | successor in interest to FMC _

CORPORATION; METALCLAD

10 | INSULATION CORPORATION,

individually and as successor in interest

11 |}to NORCAL INSULATION; OWENS-

ILLINOIS CORPORATION; PARKER-

12 | HANNIFIN CORPORATION,

individually and as parent, alter ego and

13 || Successor in- interest to SACOM

SIERRA and/or DENNISON .

14 || ENGINEERING; PEERLESS PUMP

COMPANY, INC.; PLANT

15 | INSULATION COMPANY, individually
and as parent, alter ¢29 and/or successor

16 || in interest to PLANT ASBESTOS

COMPANY and ASBESTOS

17 | COMPANY OF CALIFORNIA; RILEY

POWER, INC. individually and as

18 || parent, alter ego, and/or as successor to

TILEY STOKER CORPORATION;

19 | QUIRT EC INDUSTRIES, INC,,

individually and as the parent, alter ego,

20 || successor by merger and/or in interest or

otherwise liable for the acts or omissions

21 | of WESTERN FIBERGLAS SUPPLY

COMPANY, WESTERN FIBROUS

22 || GLASS PRODUCTS COMPANY

and/or WESOLAS INC.; RAPID

23 || AMERICAN CORP., as parent, alter ego

and successor in interest to CAREY

24 | CANADA, INC.; SB DECKING, INC.

formerly known as SELBY,

25 || BATTERSBY & COMPANY; RAPID

AMERICAN CORP., individually and as

26 || parent, alter ego and successor in interest
to PHILIP CAREY

27 || MANUFACTURING CORP, as_

successor in interest to PANACON

28 || CORP.; RAPID AMERICAN

CORPORATION, as parent, alter ego

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LESLIE CONTROLS, INC'S NOTICE OF REMOVAL TO ADVERSE PARTY

Case MDL No. 6 Document 5837 Filed "o@ 24 of 53

1 |; and successor in interest to PHILIP

CAREY CORP.; RHEEM

2 | MANUFACTURING COMPANY,

individually and as parent, alter ego,

3 || Successor-in-interest and as the entity

formerly known as RUUD

4 || MANUFACTURING COMPANY,

successor-in-interest and as the entit

5 || formerly known as RUUD BOILERS;

SEPCO CORPORATION; SEQUOIA

6 || VENTURES, INC., as Successor~in-

Interest to THE BECHTEL

7 || CORPORATION; SOCO WEST

CORPORATION, successor-in-interest

8 | to WESTERN CHEMICAL &

MANUFACTURING COMPANY and

9 | AJ. LYNCH & CO.; STERLING

FLUID SYSTEMS (U.S.A.), INC.,

10 || individually and as parent altar eZ0,

successor in interest and flea PEERLESS

11 |} PUMPS; SULZER PUMPS (US INC.

formerly known as SULZER BINGHAM

12 || PUMPS, INC.; SYD CARPENTER

MARINE CONTRACTORS, INC.;

13 || TARKETT, INC., individually and as

parent, alter ego and successor in interest

14 || te DOMCO and AZROCK FLOORING;

TERRY CORPORATION OF

15 || CONNECTICUT, individually and as

parent, alter ego and/or successor-in-_

16 |} interest to TERRY STEAM TURBINES;

T,H, AGRICULTURE & NUTRITION,

17 HLL, individually and as parent, alter

9 and successor in interest to

THOMPSON HAYWARD CHEMICAL

COMPANY, INC.; THOMAS DEE

19 || ENGINEERING COMPANY, INC.;

TRIPLE A MACHINE SHOP, INC. _

20 |, TUTHILL CORPORATION; UNION

CARBIDE CORPORATION;

21 || UNIROYAL, INC.; VIACOM, INC.,
individually and as parent, alter ego,

22 || successor in interest and/or successor by

merger to BF STURTEVANT; VIAD

23 || CORPORATION, individually and as

parent, alter ego and successor in interest

24 || and/or the entity formerly known as THE

DIAL CORPORATION, individually

25 ||and as successor in interestto _

GRISCOM-RUSSELL COMPANY;

26 || VIMASCO CORPORATION; —

WALDRON DUFFY, INC.; WARREN

27 || PUMPS, INC.;, WBSCO_ 7

INTERNATIONAL, INC., individuall

28 || and as successor in interest to WESC

DISTRIBUTION, INC,; WESTERN

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5
LESLIE CONTROLS, INC.’S NOTICE OF REMOVAL TO ADVERSE PARTY

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Case MDL No. 6 Document 5837 Filed eo 25 of 53

MACARTHUR COMPANY,

individually and as successor in interest
to WESTERN ASBESTOS COMPANY
and BAY CITIES ASBESTOS; WORTH
BROTHERS COMPANY; and DOES 1
500, inclusive,

Defendants.

TO PLAINTIFF MICHAEL E. JENKINS THROUGH HIS ATTORNEYS
OF RECORD, BRENT COON & ASSOCIATES, 44 MONTGOMERY STREET,
SUITE 800, SAN FRANCISCO, CA 94104:

Please take notice that the civil action in which you are named as plaintiff,
filed July 21, 2008 in the Superior Court of the State of California, County of

San Diego, has been removed from that court to the United States District Court

for the Southern District of California effective January 20, 2009. On that day a
Notice of Removal, a copy of which (with exhibits) is attached, was filed with the
clerk of the United States District Court, and a copy of that Notice of Removal has
been filed with the clerk of the state court, effecting removal pursuant to 28 U.S.C.

sections 1442(a) and 1446.

Respectfully submitted,
GORDON & RE ES LLP

\ * At eentt WAC
SKI

DON WILLENBURG
Attorneys for Defendant
LESLIE CONTROLS, INC,

DATED: January Iq , 2009

6

LESLIE CONTROLS, INC.*S NOTICE OF REMOVAL TO ADVERSE PARTY

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Exhibit “B”

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

MICHAEL E. JENKINS, CASE NO. 09-cv-0101 DMS (LSP)
Plaintiff, ORDER DENYING MOTION TO
VS. REMAND
ALLIED PACKING & SUPPLY, INC., et al.,
Defendant.

Plaintiff brought this state law tort action in San Diego Superior Court against Defendants,

including Defendant Leslie Controls, Inc. (“Leslie Controls”), on July 21,2008. Plaintiffalleges, inter
alia, that Defendants violated their California state law duty to warn him of the dangers posed by
asbestos in their products, and that he developed lung cancer as a result. Plaintiff alleges asbestos
exposure from serving as a pipefitter aboard the U.S. Navy vessels U.S.S. Marshall, U.S.S. Collett,
and U.S.S. Fletcher. Defendant Leslie Controls furnished and fabricated valves and related equipment
for Navy vessels under contract during the 1940s to 1960s. It removed the case pursuant to the federal
officer removal statute, 28 U.S.C. § 1442(a)(1), on January 9, 2009. Plaintiff now seeks to have the
case remanded. (Doc. 18.) The matter is suitable for submission without oral argument, pursuant to
Civil Rule 7.1. For the following reasons, the motion is denied.
A. Legal Standard for Removal under 28 U.S.C. § 1442

Pursuant to 28 U.S.C. § 1442(a)(1), a civil action may be removed by “[a]ny officer of the
United States or any agency thereof, or person acting under him, for any act under color of such

office.” 28 U.S.C. § 1442(a)(1). To satisfy § 1442, a government contractor must (1) demonstrate that

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it acted under the direction of a federal officer; (2) raise a colorable federal defense to plaintiff's
claims; and (3) demonstrate a causal nexus between plaintiff's claims and the acts defendant performed
under color of federal office. Mesa v. California, 489 U.S. 121, 124-125, 134-135 (1989).!

Generally, removal statutes are to be strictly construed, and any doubt as to the right to remove
should be resolved in favor of remanding to state court. See, e.g., Gaus v. Miles, Inc., 980 F.2d 564,
566 (9th Cir, 1992). Unlike removal under § 1441(a), however, § 1442 strongly favors removal. See
Durham y. Lockheed Martin Corp., 445 F.3d 1247, 1252-53 (9th Cir. 2006) (“when federal officers
and their agents are seeking a federal forum, we are to interpret section 1442 broadly in favor of
removal.”). Indeed, under § 1442 a federal officer may remove a case even if the plaintiff could not
have filed the case in federal court; removal is not subject to the well-pleaded complaint rule, 7.e., a
federal officer’s defense can provide subject matter jurisdiction; and, a federal officer or agency
unilaterally may remove a case, without the consent of any other defendant. Jd. at 1253.
B. Discussion

Plaintiff argues that Leslie Controls fails to establish removal was proper under § 1442(a).
Plaintiff further argues that, Leslie Controls’ defense notwithstanding, removal is improper because
he specifically disclaimed any claims for relief arising under federal law. Plaintiff also raises
evidentiary objections to Leslie Controls’ evidence. The Court turns first to the evidentiary challenges,
then to the merits.

1. Plaintiff’s Evidentiary Objections to the Notice of Removal

Leslie Controls submitted declarations from Matthew Wrobel and Rear Admiral Roger Horne
(ret.} in support of its notice of removal. Plaintiff objects to these declarations on various grounds.
First, as to Mr. Wrobel’s declaration, Plaintiff argues: (1) the declaration is inadmissible hearsay; (2)
Mr. Wrobel fails to provide a basis for his expert opinion under Fed. R. of Evid. 702, and hence, it
lacks foundation; and (3) the declaration is irrelevant because Mr. Wrobel does not refer to any
specifications regarding asbestos warnings or testify as to whether the Navy prevented Leslie Controls

from fulfilling its state law duty to warn. (Doc. 18-3, at 1-2.) Similarly, Plaintiff objects to Rear Adm.

' The removing party must also qualify as a federal officer or person acting under the same.
As a corporation, Leslie Controls meets this requirement, see Fung v. Abex Corp., 816 F.Supp. 569,
572 (N.D. Cal. 1992), and the parties do not contend otherwise.

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Ny MNO KN KN BB NY RK RO ee
In wm FP WwW KH —|§ OD OBO DB IH HDB AH FF YS YH SY BS

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Horne’s declaration because: (1) it is inadmissible hearsay; (2) Rear Adm. Horne does not state
whether he has personal knowledge of Leslie Control’s products specifications, design, or
manufacture, or whether warnings were placed on them; and (3) Rear Adm. Horne offers an expert
opinion that lacks foundation under Fed. R. of Evid. 702. (/d. at 2.) Plaintiff asks the Court to strike
Rear Adm. Horne’s declaration because it is contrary to deposition testimony given by him on June
12, 2006, in Baxter v. Alfa Laval, Inc., et al., Middlesex (Mass.) Super Ct., No. 05-4314. (dd. at 2-3.)

As a general matter, these objections are not meritorious. Mr. Wrobel is Group Director of
Quality Assurance at Leslie Controls. His testimony is based on his personal knowledge following
forty-one years of employment with Defendant, where he was personally involved in Navy
procurement contracts at various stages of contracting. (Wrobel Decl. 41.) Rear Adm. Horne’s Navy
career focused on ship design, engineering, construction, overhaul and inspection, ultimately achieving
the rank of Chief Engineer and Deputy Commander, Naval Sea Systems Command for Ship Design
and Engineering. (Home Decl. 2.) He testifies that he has personal knowledge of the Navy’s
comprehensive plans, specifications, and requirements which governed suppliers like Leslie, Because
Mr. Wrobel and Rear Adm. Horne testify as a percipient witnesses, neither offers opinion testimony
that is subject to Fed. R. of Evid. 702. Moreover, both declarations are televant, because both Mr.
Wrobel and Rear Adm. Horne offer testimony concerning the Navy’s supervision of Leslie Control’s
product manufacturing and its control over the issuance of warnings. (Wrobel Decl. (46-14; Home
Decl. 497-16.) Finally, assuming Rear Adm. Horne’s declaration is inconsistent with his deposition
testimony in Baxter, such inconsistency “is not ordinarily a basis for striking the testimony.” United
States v. Powers, 467 F.2d 1089, 1095-1096 (7th Cir. 1972).

2. Plaintiff’s Disclaimers

Plaintiff's Complaint recites the following:

The Federal Courts lack subject matter jurisdiction over this action as there is no

federal question and incomplete diversity of citizenship exists due to the presence of

one or more California defendants. Removal is improper. Every claim arising under

the constitution, treaties, or laws of the United States is expressly disclaimed (including

any claim arising from an act or omission of a federal enclave, or any officer of the

U.S. or any agency acting under him occurring under color of such office). . .. Plaintiff

specifically disclaims any federal . . . claim that would give rise to federal jurisdiction.

(Compl. 93.) Moreover, Plaintiff recites that, to the extent any of Plaintiff's asbestos exposure took

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place on a federal enclave, military vessel, or in the construction, repair or maintenance of a military
vessel or aircraft, Plaintiffs negligence claims are based solely on a theory of failure to warn. (/d.)

Plaintiff contends that irrespective of Leslie Control’s arguments under the federal officer
removal statute, removal is improper because Plaintiff expressly disclaimed any claim arising under
federal law in his complaint. (Mot. at 17-18.) Citing Westbrook v. Asbestos Defendants, 2001 WL
902642 (N.D. Cal. 2001), Shild v. A.P. Green Indus., Inc., 2002 WL 102608 (N.D. Cal. 2002), and
Overly v. Raybestos-Manhattan, 1996 WL 532150 (N.D. Cal. 1996), Plaintiff argues the use of such
disclaimers operates to defeat removal in asbestos cases because as the Plaintiff he is free to elect what
law he will rely upon. (/d., at 17-18; Reply at 18.)

Under § 1442(a), “suits against federal officers may be removed despite the nonfederal cast of
the complaint; the federal-question element is met if the defense depends on federal law.” Jefferson
County v. Acker, 527 U.S. 423, 431 (1999) (emphasis added). Plaintiff maintains that he has waived
any claims raising a federal question, because “any act or omission by [Leslie Controls] at the direction
of [the Navy] is not the subject of this suit.” (Mot. at 17.) Plaintiff's argument is flawed because it
presupposes that Leslie Controls is not entitled to a federal contractor defense. “One of the most
important reasons for [federal officer] removal is to have the validity of the defense . . . tried in a
federal court.” Willingham v. Morgan, 395 U.S. 402, 407 (1969). Thus, if Leslie Controls satisfies
Mesa, Plaintiff's disclaimers have no effect on the propriety of removal.

3. Removal Under § 1442(a)

Leslie Controls contends that removal is proper because it satisfies Mesa. Plaintiff contends
Leslie Controls does not satisfy Mesa, because it fails to offer credible evidence demonstrating that
it acted at the specific direction of the Navy to omit warnings about the dangers of asbestos exposure.

a. Acts Under the Direction of a Federal Officer

A private party defendant satisfies Mesa’s first prong — acts under the direction of a federal
officer — upon a showing it “assist[ed] or help[ed] to carry out the duties or tasks ofa federal superior.”
Watson vy. Philip Morris Cos., Inc., 551 U.S. 142, 127 S.Ct. 2301, 2307 (2007). Such assistance
establishes a “special relationship” between the contractor and the federal government involving

“subjection, guidance, or control” that is sufficient to support removal. /d., at 2307, 2310.

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Defendants provide sufficient evidence that Leslie Controls acted under the direction of the
federal government. Leslie Controls manufactured valves for Naval vessels, and Rear Adm. Horne
testifies that “in each and every instance where Leslie contracted with the [Navy] for the provision of
equipment, the [Navy] exercised discretion or control over the design, manufacture, inspection and
testing of all such equipment.” (Home Decl. ¥17.) Pursuant to the terms of all contracts between
Leslie Controls and the Navy, “the Navy retained authority to direct and control the performance under
the terms of the contract.” (Jd.) Moreover, “[t]he Navy had complete control over aspect of each piece
of equipment’ through detailed specifications that governed the design and manufacturing of the
equipment itself, as well as written materials accompanying the equipment, such as operating manuals,
safety and hazard information and precautionary labeling. (Id. at 4415-16.) Similarly, Mr. Wrobel
testifies that the Navy exercised “direction and control” over the design, manufacture, inspection and
testing of all equipment. (Wrobel Decl. 15.) Navy personnel had the authority to inspect, accept or
reject equipment and to halt production if the equipment did not meet the Navy’s specifications. (Id.
at 99.) Finally, if the Navy did detect deficiencies in the procured equipment, it “directed and
controlled [Leslie Controls] in formulating a response to correct any such deficiencies.” (Jd. at 12.)

Indeed, these activities occurred in the context of Leslie Controls furnishing and fabricating
valves and related equipment for Navy vessels under contract from the 1940s to 1960s. Those vessels
were used to perform the Navy’s various war and peacetime missions. If Leslie Controls (or any other
contractor) had not provided the equipment, the Navy would have had to produce those valves by
itself, This “special relationship” is on all fours with the Supreme Court’s example in Watson:

The assistance that private contractors provide federal officers goes beyond simple

compliance with the law and helps officers fulfill other basic governmental tasks. In

the context of [Winters v. Diamond Shamrock Chemical Co., 149 F.3d 387 (Sth Cir.

1998)], for example, Dow Chemical fulfilled the terms of a contractual agreement by

providing the Government with a product that it used to help conduct a war. Moreover,

at least arguably, Dow performed a job that, in the absence of a contract with a private

firm, the Government itself would have had to perform.

127 S. Ct. at 2308, Accordingly, this prong is met.
b. Colorable Federal Defense

To meet the second prong of the Mesa test, Leslie Controls must show that it has a colorable

federal defense. 489 U.S. at 128, A defense may be colorable even if the court ultimately rejects it.

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Jefferson County, 527 U.S. at 431; see Willingham, 395 U.S. at 407 (federal “officer need not win his
case before he can have it removed”). The government contract defense shields contractors from state
tort liability for defects in military equipment supplied to the United States when “(1) the United States
approved reasonably precise specifications; (2) the equipment conformed to those specifications; and
(3) the supplier warned the United States about the dangers in the use of the equipment that were
known to the supplier but not to the United States.” Boyle v. United Techs. Corp., 487 U.S. 500, 512
(1988). The Ninth Circuit clarified Boyle’s application to failure to warn claims in Butler v. Ingalls
Shipbuilding, Inc., where it held the defense “inapplicable . . . in the absence of evidence that...
[defendant] was acting in compliance with reasonably precise specifications imposed on [it] by the
United States.” 89 F.3d 582, 586 (9th Cir.1996) (quotations omitted).

According to Plaintiff, Leslie Controls “must in fact show that as a result of following a
directive or order from the government it was prevented from fulfilling its state law duty to warn.”
(Reply at 4.) Citing Overly v. Raybestos-Manhattan, Plaintiff argues that removal is only proper upon
a showing that “the government affirmatively instructed it regarding the provision of warnings.” 1996
WL 532150, *4 (N.D. Cal. 1996). Plaintiff argues Leslie Controls’ evidence is insufficient because
the declarants fail to identify precise specifications on asbestos warnings. At most, Plaintiff argues
Mr. Wrobel’s declaration establishes that “at no time did the Navy instruct Leslie Controls not to warn
of the dangers of asbestos.” (fd. at 8.)

Plaintiff's argument is unavailing. First, the Court notes that Overly was decided before
Durham, and thus, its reasoning is questionable. Compare Overly, 1996 WL 532150, *2 (“[federal
officer] removal statute is strictly construed against removal jurisdiction and doubt is resolved in favor
of remand”) with Durham, 445 F.3d at 1253 (“when federal officers and their agents are seeking a
federal forum, we are to interpret section 1442 broadly in favor of removal”). Second, both Butler,
89 F.3d at 586 and In re Hawaii Federal Asbestos Cases, 960 F.2d 806, 813 (9th Cir. 1992), state that
for the federal contractor defense to apply on the merits, a defendant must show that it “act[ed] in
compliance with reasonably precise specifications imposed on [it] by the United States.” Here, Rear
Adm. Horne testifies that “the Navy controlled the decision making with respect to instructions and

warnings on every piece of equipment.” (Home Decl. 415.) The Navy “determined the nature of

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hazards to be subject to any precautionary labeling and the content of any such labeling.” (/d. at 116.)
Because the Navy “would not, and could not, permit” a contractor to place warnings on any equipment
that might interfere with the Navy’s mission, and “the Navy dictated every aspect of . . . warnings
associated with its ships, it did not permit deviation from any of its contractors.” (/d. at 14.) This
testimony is corroborated by Mr. Wrobel, who testifies that the “Navy has precise specifications,
practices, and procedures that governed the content of any communication affixed to machinery
supplied by Leslie [Controls] to the Navy as shown on approved Navy drawings.” (Wrobel Decl. 4114.)
“At no time did the [Navy] instruct Leslie Controls to affix warnings or caution statements regarding
asbestos hazards to a piece of equipment intended for installations onto a [Navy] vessel.”” (Id,) The
inference to be drawn from this evidence is that Leslie Controls’ alleged failure to warn resulted from
compliance with the Navy’s specifications, which precluded any such warning.

Plaintiff attempts to rebut this inference by submitting the Navy’s “Uniform Labeling Program
for Hazardous Industrial Chemicals and Materials,” dated September 24, 1956. (“Uniform Labeling
Program,” Gardner Decl. Ex. D.) According to Plaintiff, this instruction details labeling for hazardous
products supplied to the Navy, and the instruction specifically states that it does not govern the type
of labeling required by “State and Federal laws and regulations.” (/d. at ]2(a).) Because this program
does not trump labels required by state law, Plaintiff argues the Navy did not intend for Leslie Controls
to omit all warnings on its products. (Reply at. 7.) However, this instruction does not apply to
products containing asbestos, as its stated purpose “is to standardize . . . labeling requirement for
hazardous chemical products.” (Uniform Labeling Program, §1.) Plaintiff fails to rebut the inference
to be drawn from Leslie Controls’ evidence.

Leslie Controls also satisfies the last two Boyle prongs, i.e., whether its product complied with
the Navy’s specifications and whether Leslie Controls knew more about asbestos hazards than the
Navy. Mr. Wrobel’s testimony establishes that the Navy had the authority to reject any equipment that
was not up to its specifications. (Wrboel Decl. 499, 12.) From this, the inference can be drawn that,

if Plaintiff was exposed to asbestos from Leslie Controls’ valves while on board a Navy vessel, the

? Plaintiff objects to this portion of Mr. Wrobel’s testimony under “the best evidence rule,”
Fed. R. Evid. 1002. However, Mr. Wrobel is not attempting to prove the content of a particular
specification; rather his testimony is based on his personal knowledge.

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valves necessarily met Navy specifications. Machnik v. Buffalo Pumps Inc., 506 F.Supp.2d 99, 103
(D. Conn. 2007). Finally, Leslie Controls submits evidence that the Navy’s knowledge of the asbestos
hazards on board its vessels and in its supply yards was “state-of-the-art” during relevant periods of
Plaintiff's alleged exposure. (See Declaration of Gerald Kerby, M.D. 23, 27 and Declaration of
Ernani D. Storlazzi §§40-41.) The Navy, according to this evidence, would have known of any
dangers that were known to Leslie Controls. See Nesbiet v. General Electric Co., 399 F.Supp.2d 205,
212 (S.D.N.Y. 2005). The Court concludes Leslie Controls has presented a colorable federal defense
sufficient for purposes of removal.
e. Causal Nexus

Finally, to show the existence of a “causal nexus,” Leslie Controls must show that Plaintiff's
claims “[arose] out of the acts done by [the defendant] under color of federal authority.” Mesa, 489
U.S. at 131-32. Plaintiff's claims against Leslie Controls pertain to the warnings (or lack thereof)
affixed to valves produced pursuant to strict Naval specifications. Any wamings promulgated (or not
promulgated) with respect to the valves were governed by those specifications and “the Navy did not
permit contractors to deviate from any of its specifications.” (Opp. at 13.) Nevertheless, Plaintiff
argues that the causal nexus is not met because Leslie Controls fails to show any conflict between the
Navy’s specifications and state law, as required by Boyle. (Mot. at 16.) Assuming such a conflict is
necessary to this analysis, it is plain that “the Navy’s control over warnings directly interfered with
[Leslie Controls’} ability to fulfill its state law obligation to warn about the dangers of asbestos.”
Nesbiet, 399 F.Supp.2d at 212. Accordingly, Leslie Controls has established a sufficient causal nexus
for purposes of this motion.
Cc. Conclusion

The Court finds that Leslie Controls has met its burden to remove this action. Accordingly,
Plaintiff's motion to remand is DENIED.
IT IS SO ORDERED.
DATED: March 25, 2009

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HON. DANA M. SABRAW
United States District Judge

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Case MDL No. 6 Document 5837. Filed eee 35 of 53

Exhibit “C”

Gordon & Rees LLP
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275 Battery Street, Suite 2000

San Francisco, CA 94111

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Attorneys for Defendant
LESLIE CONTROLS, INC.

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

WILLIAM H. DAWSON and RITA M. CASE NO.3:09-cv- 00903 (EDL)
DAWSON,

Plaintiffs,
LESLIE CONTROLS, INC.’S
Vv. JOINDER IN GENERAL
ELECTRIC COMPANY’S
CBS CORPORATION, a Delaware NOTICE OF REMOVAL

corporation, f/k/a VIACOM, INC.,,
successor by mergertoCBS
CORPORATION, a Pennsylvania
corporation f/k/a WESTINGHOUSE
ELECTRIC CORPORATION: B.F.
STURTEVANT CO. and WESCO
CORPORATION; FOSTER WHEELER,
LLC; GENERAL ELECTRIC
COMPANY; LESLIE CONTROLS,
INC.; VIAD CORPORATION, .
individually and as successor 1n interest
to GRISCOM-RUSSELL COMPANY;
WARREN PUMPS LLC; and DOES 1-
500, inclusive,

Defendants.

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LESLIE CONTROLS, INC.S JOINDER IN GENERAL ELECTRIC COMPANY’S NOTICE
OF REMOVAL- CASE NO. 3:09-cv- 00903 (EDL)

Gordon & Rees LLP
Embarcadero Center West

275 Battery Street, Suite 2000

San Francisco, CA Y4111

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Case 3:09-cv-00903-EDL Document6 Filed 03/04/20 Page 2 of 5

I. INTRODUCTION
The Notice of Removal filed by defendant General Electric Company was

appropriate, with the same authorities and logic applying equally to LESLIE
CONTROLS, INC. (“LESLIE”). Defendant LESLIE, hereby joins in and
incorporates by reference as though fully set forth herein the points and authorities
relied upon in Defendant General Electric Company’s Notice of Removal.
Il, FACTS
In the Complaint, Plaintiff WILLIAM H. DAWSON (Plaintiff) alleges he
was exposed to asbestos containing products manufactured by a number of
defendants, including Leslie Controls, while serving as an engineman in the U.S.
Navy from 1958 until 1978, aboard the USS GENESSEE (AOG-8), the USS
BACHE (DD-470), the USS PROTEUS (AS-19) and the USS HUNLEY (AS-31).
Plaintiff also claims exposure to asbestos containing products while assigned to the
Puget Sound Naval Shipyard/Bremerton Navy Yard. (A true and correct copy of
the Summons and Complaint is attached as Exhibit 1 to this Joinder in General
Electric Company’s Notice of Removal.)
Il, ARGUMENT

Any equipment manufactured for the U.S. Navy by Leslie Controls to be
used aboard U.S Naval vessels or in a Naval shipyard was manufactured under the
direction and control of a federal officer. (See, generally, Declaration of Ret.
Adm. Roger Horne, Exhibit 2 and the Declaration of Matthew Wrobel, Exhibit 3.)
Leslie Controls manufactured and designed equipment sold to the Navy according
to the precise, detailed specifications of the U.S. Navy. The United States Navy
enforced compliance with those design specifications and no aspect of the design
of that equipment escaped the close control of the United States Navy and its

officers, including all aspects of warnings associated with the equipment. (/d.)

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- LESLIE CONTROLS, INC.S JOINDER IN GENERAL ELECTRIC COMPANY’S NOTICE
OF REMOVAL- CASE NO. 3:09-cv- 00903 (EDL)

Gordon & Rees LLP
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Accordingly, Leslie Controls was acting under an officer or agent of the United
States within the meaning of 28 U.S.C. § 1442(a)(1).

In addition, Leslie refers this court to the following recent authorities which
advise that the federal officer removal statute is to be interpreted broadly in favor
of removal.

In 2006, the Ninth Circuit unequivocally stated in Durham v. Lockheed
Martin Corporation, 445 F. 3d 1247, 1252 (9" Cir. 2006) (citations omitted) that
“the Supreme Court has mandated a generous interpretation of the federal officer
removal statute . . . [and] has held that the right of removal is absolute for conduct
performed under color of federal office, and has insisted that the policy favoring
removal should not be frustrated by a narrow, grudging interpretation of
§ 1442(a)(1).” In light of the Durham court’s ruling, several California federal
district courts have recently held that they are required to interpret § 1442 broadly
in favor of removal where a manufacturer of equipment demonstrates that it acted
under the direction of a federal officer, raises a colorable federal defense to
Plaintiffs’ claims and establishes a causal connection between its alleged action
under the control of a federal officer and Plaintiffs’ claims. See Ballenger v. Agco
Corporation, 2007 WL 1813821 (N.D. Cal. June 22, 2007) (a copy of Judge
Wilken’s Order is attached as Exhibit 4); Nelson v. Alfa Laval, Inc. et al, CV 07-
8338VBF(RCx) (a copy of Judge Fairbank’s Order is attached as Exhibit 5);
Wright v. A.W Chesterton, Inc., CV 07-05403MJJ (a copy of Judge Jenkin’s Order
is attached as Exhibit 6); Oberstar v. CBS Corp., CV 08-118PA (JWJx) (a copy of
this order is attached as Exhibit 7).

Like defendant General Motors Company, Leslie may also assert a federal
officer defense pursuant to the declaration of Matt Wrobel filed and served
concurrently herewith. Matthew Wrobel as a corporate representative of LESLIE
attests to his own personal experience of the extensive direction and control

exercised by the US Navy in regards to equipment suppliers such as LESLIE. This

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- LESLIE CONTROLS, INC.S JOINDER IN GENERAL ELECTRIC COMPANY’S NOTICE
OF REMOVAL- CASE NO. 3:09-cv- 00903 (EDL)

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Case 3:09-cv-00903-EDL Document 6 Filed 03/04/2

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declaration and the declaration of Ret. Admiral Roger Horne leave no question that
the US Navy directed and controlled ALL of the activities of LESLIE vis-a — vis

its contracts to provide equipment for use on US Navy warships and in Naval
shipyards.

Iv. CONCLUSION
Accordingly, for the reasons set forth above and in the Notice of Removal of
General Electric Company, the removal of this case to federal court was
appropriate.
Dated: March 4, 2009 GORDON & REES, LLP
By:
G

Attorneys for Defendants
LESLIE CONTROLS, INC.

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- LESLIE CONTROLS, INC.S JOINDER IN GENERAL ELECTRIC COMPANY’S NOTICE

_ OF REMOVAL- CASE NO. 3:09-cv- 00903 (EDL)

Gordon & Rees LLP
275 Battery Street, Suite 2000
San Francisco, CA Y4111
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Case 3:09-cv-009 EDL Document6 Filed 03/04/29 Page 5 of 5

Re: William H. Dawson, et al. v. CBS Corporation, et al.
United States District Court — Northern District No. 3:09-cv-00903 (EDL)

PROOF OF SERVICE

I am a resident of the State of California, over the age of ei ghteen years, and
not a party to the within action. My business address is: Gordon & Rees LLP 275

Battery Street, Suite 2000, San Francisco, CA 94111. On March 4, 2009, I served
the within documents:

LESLIE CONTROLS, INC.’S JOINDER IN GENERAL ELECTRIC
COMPANY’S NOTICE OF REMOVAL

by electronically serving the document(s) described above via United States District
Court Electronic Case Filing website (CM/ECF notification system) on the recipients
designated on the electronic service list that is located on the Pacer website.

I declare under penalty of perjury under the laws of the State of California

that the above is true and correct. Executed on March 4, 2009, at San Francisco,
California.

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Samantha Oryel
J

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Exhibit “D”

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Case 3:09-cv-00903 A Document 41 Filed 04/28/2 Page 2 of 3

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Attorneys for
GENERAL ELECTRIC COMPANY
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
WILLIAM H. DAWSON and RITA M. CASE NO. C 09-00903 WHA
DAWSON, ORDER
. -PROPOSED ORDER] GRANTING
Plaintiffs, DEFENDANT GENERAL ELECTRIC
COMPANY’S MOTION TO STAY ALL
_ ™ PROCEEDINGS PENDING A DECISION
CBS CORP., et al., ON TRANSFER BY THE JUDICIAL
PANEL ON MULTIDISTRICT
Defendants. LITIGATION
Hearing Date:
Time:
Dep
: Hon. William H. Alsup

. is deemed submitted on the papers.
This matter ce on-reauia ar hearincon Mis

filed herein, end uper-hearing of oret- argument, and for good cause shown:
IT IS ORDERED that GE’s Motion to Stay All Proceedings is GRANTED.

All proceedings in this asbestos action are hereby stayed, pending a decision on transfer

by. the Judicial Counsel on Multi-District Litigation. The hearing scheduled for May 7, 2009
on pending motions is VACATED.

Dated: April 28, 2009

H. Alsup

judge Willian Alsu?

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ORDER GRANTING MOTION TO STAY Al EDINGS . © 09-00903 WHA

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Case 3:09-cv-00903 A Document 41 Filed 04/28/2 Page 3 of 3
PROOF OF SERVICE
I am a resident of the State of California, over the age of eighteen years, and not a party to the

within action. My business address is Sedgwick, Detert, Moran & Arnold LLP, One Market
Plaza, Steuart Tower, 8th Floor, San Francisco, California 94105. On the date executed below, |
electronically served the document(s) via U.S. District Court ~ Northern District of California
ECF website described as:

NOTICE OF LODGING [PROPOSED] ORDER GRANTING DEFENDANT GENERAL
ELECTRIC COMPANY’S MOTION TO STAY ALL PROCEEDINGS PENDING A
DECISION ON TRANSFER BY THE JUDICIAL PANEL ON MULTIDISTRICT
LITIGATION

[PROPOSED ORDER] GRANTING DEFENDANT GENERAL ELECTRIC
COMPANY’S MOTION TO STAY ALL PROCEEDINGS PENDING A DECISION ON
TRANSFER BY THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

on the recipients designated on the Transaction Receipt located on the U.S. District Court —
Northern District of California ECF website.

I declare under penalty of perjury under the laws of the State of California that the above
is true and correct. Executed on March 30, 2009, at San Francisco, California.

-3-

ORDER GRANTING MOTION TO STAY ALL PROCEEDINGS CASE NO. C 09-00903 WHA

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Exhibit “E”

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Richard A, Brody, Esq. (SBN 100379 41

Brent Coon & Associates
44 Montgomery Street, Suite 800

San Francisco, CA 94104

ATTORNEY FOR (Nome: Plaintiffs Johnie D, Pelfrey, dr., : FILED rv
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Alameda County Superior Court of CA we “ FEB o% 2uy

Rene C, Davidson Courthouse whee |

PLAINTIFFIPETITIONER: Plaintiffs Johnie D. Pelfrey, Ur’? a ~

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OEFENDANT/RESPONDENT: Allied Packing & Supply, Inc.,
et al.
cP bins REQUEST FOR DISMISSAL t Death GASE NUMBER
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. Cc Motor Vehicle Cx other Asbestos RS~09-432228
[|Family Law
[_} Eminent Domain
[__] Other (specify):

- A conformed copy will not be returned by the clerk unless a method of return is provided with the document. -
. 1, TO THE CLERK: Please dismiss this action as follows:

a. (1) (_] With prejudice (2) 3X] Without prejudice

b. (1) CX) Complaint (2) [_] Petition
(3) (1 Gross-complaint filed by fname): on (date):
(4) (_] Cross-complaint fited by (nara): on (date):

(5) (__] Entire action of all parties and all causes of action
(8) Other (spacify)” As to Defendant Leslie Contrel@jjinc., ONLY. Each side to

bear its own costs of suit.
Date! February 27, 2003

Richard A. Brody. Bsa. {SBN 106379) > vee
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the partus, causes of action, or cross-complaints to be dismissed. . {| Zross - complainant

2. TO THE CLERK: Consent to the above dismissal is hereby given.” /

Date:

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(~] Cross - complainant

{Tovecompleled by clerk) .
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Dismissal entered on (date): as to only (name):
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Exhibit “F”’

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: Case 3:09-cv-O0903@HP Document 26 ~~ Filed 04/10/ Page 1 of 3

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g | Telephone: (415) 781-7900
. Facsimile: (415) 781-2635
7q :
Attorneys for

8! GENERAL ELECTRIC COMPANY

9
0 UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA
il . .
12 | JOHNIE D. PELFREY and JAN D. CASE NO. C 09-00902 EMC
PELFREY,
13 NOTICE OF LODGING [PROPOSED]
Plaintiffs, ORDER GRANTING DEFENDANT
14 GENERAL ELECTRIC COMPANY’S
vs MOTION TO STAY ALL PROCEEDINGS
15) FOSTER WHEELER, LLC, et al., PENDING A DECISION ON TRANSFER
16 BY THE JUDICIAL PANEL ON
Defendants. MULTIDISTRICT LITIGATION

17
18 Defendant GENERAL ELECTRIC COMPANY (hereinafter “GE”) hereby lodges with

19} the Court, in connection with GE’s Motion to Stay All Proceedings Pending Transfer By the

20 || Judicial Panel on Multidistrict Litigation, the following proposed order granting GE’s Motion.

21 | DATED: March 12, 2009 SEDGWICK, DETERT, MORAN & ARNOLD LLP
2 SOP)
By: gna
23 Katherine P, Gardiner
Attorneys for Defendant
24 GENERAL ELECTRIC COMPANY
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SF/1575925vI -l-

ORDER GRANTING MOTION TO STAY ALL PROCEEDINGS CASE NO. C 09-00902 EMC

SF/1575925vi

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Case 3:09-cv-O0O903QMHP Document 26 Filed 04/10/ Page 2 of 3

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GENERAL ELECTRIC COMPANY

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

JOHNIE D, PELFREY and JAN D. CASE NO. C 09-00902 EMG MHP

PELFREY,
{PROPOSED ORDER] GRANTING
Plaintiffs, DEFENDANT GENERAL ELECTRIC
COMPANY’S MOTION TO STAY ALL
PROCEEDINGS PENDING A DECISION
FOSTER WHEELER, LLC, et al., - ON TRANSFER BY THE JUDICIAL
PANEL ON MULTIDISTRICT
Defendants, LITIGATION

Vv.

Hearing Date:
Time:

pis deemed submitted on the papers
This matter came-on-regularlyte

papers filed herein, and upon hearing of oral argument, and for good cause shown:

IT IS ORDERED that GE’s Motion to Stay All Proceedings is GRANTED.
All proceedings in this asbestos action are hereby stayed, pending a decision on transfer

by the Judicial Counsel on Multi-District Litigation.

Dated: 4/10/2009 _

SF/1575925v1

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PROOF OF SERVICE

I am a resident of the State of California, over the age of eighteen years, and not a party to the
within action. My business address is Sedgwick, Detert, Moran & Amold LLP, One Market
Plaza, Steuart Tower, 8th Floor, San Francisco, California 94105. On the date executed below, I
electronically served the document(s) via U.S. District Court —- Northern District of California
ECF website described as:

NOTICE OF LODGING [PROPOSED] ORDER GRANTING DEFENDANT GENERAL
ELECTRIC COMPANY’S MOTION TO STAY ALL PROCEEDINGS PENDING A
DECISION ON TRANSFER BY THE JUDICIAL PANEL ON MULTIDISTRICT
LITIGATION

[PROPOSED ORDER] GRANTING DEFENDANT GENERAL ELECTRIC
COMPANY’S MOTION TO STAY ALL PROCEEDINGS PENDING A DECISION ON
TRANSFER BY THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

on the recipients designated on the Transaction Receipt located on the U.S. District Court -
Northern District of California ECF website.

I declare under penalty of perjury under the laws of the State of California that the above
is true‘and correct. Executed on March 13, 2009, at San Francisco, California.

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3.

ORDER GRANTING MOTION TO STAY ALLPROCEEDINGS CASE NO. C 09-00902 EMC

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LECO/1055409/6645012v.1

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PROOF OF SERVICE

I am a resident of the State of California, over the age of eighteen years, and not a party
to the within action. My business address is: Gordon & Rees LLP 275 Battery Street, Suite
2000, San Francisco, CA 94111. On May 7, 2009, I served the within document(s):

DECLARATION OF KRISTINE M. GLOVER IN SUPPORT OF LESLIE CONTROLS,
INC.’S OPPOSITION TO PLAINTIFFS’ CONSOLIDATED MOTION TO VACATE
CONDITIONAL TRANSFER ORDER (CTO-320)

O__sby transmitting via facsimile the document(s) listed above to the fax number(s) set
forth below on this date.

C1 _ iby personally delivering the document(s) listed above to the person(s) at the
address(es) set forth below.

by placing the document(s) listed above in a sealed envelope with postage thereon
fully prepaid, in United States mail in the State of California at San Francisco,
addressed as set forth below.

See attached List of Counsel

I declare under penalty of perjury under the laws of the State of California that the above
is true and correct. Executed on May 7, 2009 at San Francisco, California.

Seumomha Oval

Samantha Oryall }

Virginia Alfonso v. Permobil AB, et al.
Contra Costa County Superior Case No. MSC06-00835

In Re: Asbestos Products Liability Litigation (No. VI)

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MDL No. 875

Southern District - Michael E. Jenkins v. Allied Packing & Supply, et al.

C.A. No. 3:09-101 (Judge Dana M. Sabraw)

Northern District - William H. Dawson, et al. v. CBS Corp., et al.

C.A. No. 3:09-903 (Judge Elizabeth D. Laporte)

Northern District — Johnnie D. Pelfrey, Jr. et al. v. Allied Packing & Supply, et al.

C.A. 3:09-00902

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LECOQ/1055409/6643504v.1

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> Case MDL No. } Document 5837 Filed eee" 53 of 53

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